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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


   KELLY AMEDURI,           )
                            )
               Plaintiff,   )                           Civil Action No. 1:19-cv-00250
                            )
          v.                )
                            )                           Honorable Susan Paradise Baxter
   ALLEGHENY HEALTH NETWORK )
   d/b/a ALLEGHENY CLINIC,  )
                            )
               Defendant.   )


                      JOINT STATUS REPORT REGARDING
             STAY OF DISCOVERY DEADLINES AND COURT HEARINGS

       The Parties, Kelly Ameduri (“Plaintiff”) and Allegheny Health Network d/b/a Allegheny

Clinic (“Defendant”), by and through their undersigned counsel, in support thereof, the Parties

state as follows:

       On April 13, 2020, the Court stayed discovery deadlines and court proceedings at the

request of the Parties due to Defendant’s focus on responding to the COVID-19 pandemic. Doc.

No. 23. Since then, the Court has ordered the Parties to submit Joint Status Reports every 60 days

advising whether the stay should be lifted and, if so, setting forth deadlines to complete outstanding

discovery. The Court ordered the Clerk of Court to administratively close the case on July 29,

2020 and ordered that the case would be re-opened on October 2, 2020 and the status of discovery

would be re-assessed at that time.

       Since that time, the Parties have conferred on this issue. The Parties have discussed

settlement but have not resolved the matter. The Parties have also made efforts to prepare to

fulsomely engage in discovery once the stay is lifted, which have been limited because the location

where Plaintiff worked remains closed. As a result, the Parties request that the case be stayed for
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an additional 60 days. The Parties do not anticipate requesting an additional stay. During the final

stay period, the Parties will advise potential witnesses to gather records needed to finalize written

discovery and prepare for and participate in depositions.

         If the Court agrees with this approach, the Parties will submit a final Joint Status Report

on November 25, 2020 setting forth deadlines to complete outstanding discovery.




Dated: September 25, 2020                             Respectfully submitted,


THE TRIAL LAW FIRM, LLC                               JACKSON LEWIS P.C.


 /s/ Martell Harris                                    /s/ Laura C. Bunting
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4829-6347-0540, v. 1




             It is so ordered.



             ___________________________________________
             United States District Judge
